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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF NEBRASKA

            IN THE MATTER OF:                                         )            CASE NO. BK19-40297
                                                                      )              CHAPTER 11
            HERITAGE DISPOSAL AND STORAGE, LLC                        )
                                                                      )
                                     Debtor.                          )


            DECLARATION OF MARK A VESS IN SUPPORT OF OBJECTION TO MOTION FOR
             RELIEF FROM STAY AND LIMITED OBJECTION TO MOTION FOR ADEQUATE
                          PROTECTION FILED BY FIVE POINTS BANK

                     I, Mark A. Vess, in support of Debtor's objections to Motion for Relief from Stay and
            Motion for Adequate Protection by Five Points Bank, declares as follows:


                1.       This proceeding was commenced by voluntary petition on February 27, 2019.
                2.       Debtor filed this case to stop foreclosure of its property by Five Points Bank.
                3.       I have worked with explosives and laws and regulations regarding explosive material
                         for approximately 41 years. I have served as an expert in judicial proceedings on
                         explosive materials and handling as well as processes regarding explosive materials.
                4.       Debtor’s business is the storage and conversion of various explosive materials and
                         explosive constituents into products that can be used in the open market.
                5.       Debtor has a specific process to accomplish the above that is proprietary and lab-tested.
                6.       There is an MSDS for every element of fireworks and explosives handled at Debtor’s
                         facility. Debtor processes like materials together in batches to simplify the polishing
                         process for the recycled materials. The materials are stored as explosives, not hazmat.
                7.       Debtor has reinstated full insurance policies that have always been in place, except for
                         a temporary lapse in coverage.




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                         INSPECTION/SAMPLING:
                8.       With respect to allowing Five Points to inspect/sample materials located in Debtor’s
                         facility, Debtor is not opposed to said inspection/sampling, however, because of the
                         nature of Debtor’s business and Department of Defense Contract as well as federal laws
                         and regulations (ATF), Debtor cannot simply surrender possession of explosive
                         materials or its facility to Five Points. Based on my experience in dealing with
                         explosives and laws and regulations governing the same, there are the following
                         considerations:
                         a. There are approximately 638 containers of material at Debtor’s facility in different
                             stages of process and to obtain a true sampling, Five Points/its agent should sample
                             all containers;
                         b. Because of the nature of materials (explosive), there are mandatory safety and
                             security protocol that must be followed. Containers cannot be opened in storage
                             magazines. They cannot be transported off site and must be moved from the
                             bunkers for on site for sampling / manipulation in a suitable work area out of the
                             elements. The closest secure area with enough space for individual staging areas is
                             the shipping and receiving building which would be approximately 1 mile away
                             from the storage locations;
                         c. From the moment personnel arrive at Heritage for any reason, to a magazine or
                             building being opened, through all stages of testing/sampling: trained security
                             guards oversee all operations and control access to Heritage, all secure areas and
                             supervise and escort all personnel on site. They ensure security of all materials
                             including all samples until all operations are completed. In general, security
                             personnel are present for all activities at the entry control points, magazines, work
                             areas, staging areas and observe operations involving each container and sample.
                         d. Explosive materials must be safely transported. Packaging and banding must be
                             checked prior to movement both to and from the staging areas. For efficiency and
                             security the materials must be securely transported into a semi and trucked to the
                             staging area, then tested, and re-secured and returned to the magazine all the time
                             guarded;
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                         e. Explosive safety requires that the minimum amount of explosives be at risk to the
                             minimum amount of personnel for the minimum amount of time. To facilitate that
                             rule, pallets will be removed and manipulated one at a time. At the shipping and
                             receiving facility there will be several separated work areas. The inspection area
                             must be separate from the staging area, the sampling area separate from the
                             inspection area and ultimately the repack / re-banding area separate from the other
                             2 areas;
                         f. Debtor will require at least 7 employees to perform security and safety for the
                             materials and transport and package / repackage all materials. Debtor will supervise
                             and monitor and assist the sampling process. Debtor will store all samples and at
                             the end of the operation accomplish all required paperwork to the certified lab that
                             can receive the explosives materials. Debtor cannot lose possession of the property
                             and will accomplish all chain of custody and manifest. Operations from cradle to
                             grave require security guards at all times;
                         g. The entire process can take up to 60 days, assuming no inclement weather and all
                             personnel work 12-hour days;
                         h. The labor, equipment, rental, personal protective equipment (required), utility and
                             consumables costs as well as sampling/lab fees would need to be paid by Five
                             Points;
                9.       Debtor is willing to allow inspection and sampling on the above terms.
                10.      Debtor has been inspected by Federal and State agencies over 30 times and has hosted
                         Federal Agents in the performance of explosives operations on site utilizing all these
                         procedures. Debtor facility is recognized as the safest and most compliant explosive
                         work facility in the United States by many in the US DOJ and US DOD. Debtor’s
                         proven safe processes and procedures were developed to meet or exceed all Federal
                         and State regulatory requirements. These safety and security processes were developed
                         and are mandatory to comply with federal laws and regulations regarding the handling
                         of these explosive materials.
                11.      Debtor has explosive materials at its facility and said materials must be handled as such.


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                12.      Debtor must meet various requirements of the ATF Explosives Manufacture Licenses,
                         Nebraska State Explosives Licenses and ATF 5400 regulations / law.
                13.      No member of Five Points has ever been denied access to Debtor’s facility. I personally
                         gave a tour to Bill Marshall of Five Points in the fall of 2015 and subsequently I have
                         provided access to several Five Points executives during an unannounced visit in late
                         2016/early 2017.
                14.      No request from Five Points has been received by Debtor since the above.


                         DIP FINANCING:
                15.      As to DIP Financing, Debtor was in the final stages of securing financing in April of
                         2019. Debtor was in its seventh week of due diligence, 4 March – 18 April 2019 with
                         the lender. The point of contact for the potential lender, Ian Abaie had indicated that
                         funding documents had been prepared and would be forwarded by the end of the week
                         26 April 2019. Debtor and Chuck Moore from Benchmark Capital were informed on
                         conference call by two members of the potential lender that a person purporting to be
                         an attorney involved in Debtor’s bankruptcy called lender and made representations to
                         a Senior Executive of the Lender that Debtor would not be a suitable client and was not
                         trustworthy and consistently unreliable. Due to past events of this specific nature by
                         personnel affiliated with 5 Points Bank, Debtor believes this was someone affiliated
                         with Five Points. This potential lender was disclosed at Debtor’s 341 Hearing.
                16.      Debtor had a firm offer of financing in the summer of 2018, however, the vice president
                         of Five Points Bank, David Cunningham, interfered with that financing as well and a
                         settlement was reached between Debtor and Five Points regarding the same.
                17.      Debtor also had confirmation from US Army Contracting Officer that on the same day
                         as the call to Lender she (US Army Contracting Officer) had received a similar call
                         from a person purporting to be an attorney involved in Debtor’s bankruptcy. That
                         person indicated that Debtor had no ability to financially perform, was not trustworthy
                         and strongly suggested that the US Government should investigate terminating the
                         contract as soon as those facts were verified. She called me as soon as she got off the
                         phone with the individual and disclosed this information to me. Unknown to the caller
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                         was the fact that the Debtor has been fully transparent about the situation with the US
                         Government.
                18.      Currently, Debtor has enlisted the help of Benchmark Commercial Capital to find DIP
                         lenders and was thwarted in its efforts to secure funding in the loss of the lender referred
                         to above.
                19.      Attached is a letter from Richard Simon of Benchmark Commercial Capital regarding
                         the timeline and availability of potential DIP financing.
                20.      Benchmark is simultaneously working with three different potential lending sources as
                         well as a potential direct investor and we should have a determination one way or the
                         other within 2 weeks.
                21.      Debtor requires $6.6 million in DIP financing to build a facility to service its current
                         DOD contract.


                         EQUITY IN COLLATERAL:
                22.      As stated on Debtor’s schedules, there is equity in Debtor’s assets, showing equity of
                         approximately $10,352,439.35 of asset value over and above secured claims in the
                         same.
                23.      In 2005, Five Points Bank ordered an appraisal of Debtor, which said valuation came
                         in at a little over $11 million as a facility, and $12 million as a going concern.
                24.      In 2014, Five Points ordered yet another appraisal of Debtor utilizing the same firm
                         and appraiser, and the valuation came in at approximately $3.4 million. After seeing
                         the new, much lower valuation, I called the appraiser and was informed that he was
                         following Five Points’ instructions to artificially discount all comparables and discount
                         Debtor’s valuation.
                25.      Attached is a seven month financial study and MAI appraisal evaluation by Cascadia,
                         Seattle, WA dated February, 2017, which shows a value between $44,475,000.00 just
                         in facility value and a minimum of $51.6 million as an operation.
                26.      Debtor has no qualms with allowing Five Points fully escorted access to all areas except
                         the magazines for an appraisal so long as it is at Five Points’ cost as there have been
                         multiple appraisals and in recent years.
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                         FLOOD INSURANCE:
                27.      I admit that Debtor does not have flood insurance in place at this time, however, there
                         is good reason for that.
                28.      I have been diligently working on either obtaining a flood insurance policy that makes
                         sense fiscally, but also I have been working on obtaining a determination from FEMA
                         as to whether Debtor’s property is actually in a FEMA designated special flood hazard
                         area.
                29.      In the past, Debtor did indeed carry flood insurance, however, the policy had a premium
                         of $5,300.00 with $30,000.00 in coverage for a guard shack and the policy had a
                         $30,000.00 deductible. The policy Debtor was forced to obtain was worthless.
                30.      Previously, Debtor had a few facilities that fell into a FEMA designated flood plain,
                         however, that determination was based on an actual survey until 2006. Since 2006, the
                         FEMA determination is only “on paper” and I have been working diligently to acquire
                         an actual flood determination by physical survey from FEMA and have not yet had the
                         results or survey completed.
                31.      FEMA’s website with maps of flood hazard areas indicates the maps are “not
                         necessarily considered as legal boundaries and are inexact representations of the
                         official maps.”
                32.      I am in the process of scheduling a meeting with Nebraska Dept. of Natural Resources
                         in person to work on an actual physical surveying of Debtor’s facility relative to the
                         flood plain.
                33.      Any potential flood water damage to structures located upon Debtor’s land would be
                         minimal considering the only structures located in the previously determined flood
                         plain are magazines consisting of earth covering 3 feet over 4.5 foot thick concrete with
                         12-16” concrete floors. Flood water damage to these structures is at most a replacement
                         of soil. The structures alleged to be in the flood plain based on the most recent actual
                         survey have been in place without damage since 1942.
                34.      There have been three floods in the area since 2003 and water has never approached
                         any facility at Heritage.


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                35.      Any structures built subsequent to the original structures in place from the Army were
                         purposely built up areas and elevated / constructed and located to specifically NOT be
                         in a flood plain area.
                36.      It is an open question as to whether any of Debtor’s structures currently are located in
                         a flood plain area and thus, Debtor’s not having flood insurance is not a violation of
                         the terms of the Deeds of Trust between Debtor and Five Points and I am working on
                         an actual survey of the same.
                37.      If Debtor’s structures are indeed not in a flood plain, which I am confident they are not,
                         then the value of Debtor’s operation and facility is increased. Thus, my work on
                         obtaining an actual physical survey is beneficial for both Debtor and Five Points.


            FUTURE OPERATIONS OF HERITAGE:
                38.      Debtor’s plan is to build a facility by early spring, 2020 to service a Department of
                         Defense contract for the demilitarization of explosives.
                39.      The DOD’s initial contract commitment is potentially for $21 million, which has been
                         filed with this Court in a Motion to Assume.
                40.      In October of 2018 the environmental coordination and licensing for the proposed
                         facility was completed.
                41.      Once completed, Debtor’s facility will be the only facility in the United States for the
                         recycling and destruction of hexachlorethane smoke materials.
                42.      Once Debtor obtains DIP financing, it will be ready and able to immediately commence
                         building of the facility.
                43.      All necessary engineering, coordination with EPA and State of Nebraska and other
                         preparatory requirements have been completed. Debtor just needs funding to build the
                         facility.
                44.      Beyond the DOD contract Debtor has assumed, there is another $500-$600 million in
                         contracts that Debtor could fulfill with its facility.
                45.      Debtor has already obtained Resource Conservation and Recovery Act licensing for the
                         facility, which cost Debtor over $1.5 million.


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                46.      President Trump has funded $274 million for demilitarization contracts this year alone
                         and currently there are only three potential beneficiaries of these contracts: General
                         Dynamics, EXPAL and Debtor.




                      I declare under penalty of perjury that the foregoing is true and correct. (Declaration per
            28 U.S.C. § 1746).



                        6/14/2019
            Dated: _____________________                              ____________________________________
                                                                      Mark A. Vess, Member and Authorized
                                                                      Agent for Debtor in Possession, Heritage
                                                                      Disposal and Storage, LLC




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